
DAC Medical, P.C./Timothy Mosomillo, D.O., as Assignee of Nancy Cirillo, Appellant, 
againstAllstate Insurance Company, Respondent.



Appeal from an order of the Civil Court of the City of New York, Queens County (William A. Viscovich, J.), entered January 24, 2014. The order, insofar as appealed from, denied plaintiff's motion for summary judgment.




ORDERED that the order, insofar as appealed from, is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from so much of an order of the Civil Court as denied plaintiff's motion for summary judgment.
Upon a review of the record, we agree with the Civil Court's determination that there is a triable issue of fact regarding the medical necessity of the services at issue (see Zuckerman v City of New York, 49 NY2d 557 [1980]).
Accordingly, the order, insofar as appealed from, is affirmed. 
Pesce, P.J., Aliotta and Solomon, JJ., concur.
Decision Date: September 15, 2016










